                 Case 23-11240-TMH               Doc 20       Filed 08/29/23        Page 1 of 11




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                            )
In re:                                                      ) Chapter 11
                                                            )
AMERIFIRST FINANCIAL, INC., et al.,1                        ) Case No. 23-11240 (TMH)
                                                            )
                                     Debtors.               ) (Joint Administration Requested)
                                                            )

                                   DECLARATION OF T. SCOTT AVILA
                                  IN SUPPORT OF FIRST DAY MOTIONS

          I, T. Scott Avila, hereby declare under penalty of perjury that the following is true to the

best of my knowledge, information, and belief:

          1.       I am Chief Restructuring Officer (“CRO”) of Debtor Phoenix 1040 LLC

(“Phoenix”) and Debtor AmeriFirst Financial, Inc. (“AmeriFirst”, together with Phoenix, the

“Debtors). I became CRO of the Debtors on August 21, 2023. Since that time, and in such

capacities, I have worked to become familiar with the Debtors’ business, financial affairs, and day-

to-day operations.

          2.       I am authorized to submit this Declaration on behalf of the Debtors. Except as

otherwise indicated, all facts set forth in this Declaration are based upon my personal knowledge

of the Debtors’ operations and finances, information learned from my review of relevant

documents, and information I have received from other members of the Debtors’ management or

the Debtors’ advisors. If I were called upon to testify, I could and would testify competently to the

facts set forth herein on that basis.



1
    The Debtors and the last four (4) digits of their respective taxpayer identification numbers include: Phoenix 1040
     LLC (2550) and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 1550 McKelleps Road, Suite
     117, Mesa, AZ 85203.



DOCS_DE:244458.7
                 Case 23-11240-TMH               Doc 20        Filed 08/29/23        Page 2 of 11




          3.       I submit this Declaration in support of the Debtors’ critical “first day” motions

described below (collectively, the “First Day Motions”) filed in these chapter 11 cases (the

“Chapter 11 Cases”).2 I am over the age of 18, competent to testify, and authorized to submit this

Declaration on behalf of the Debtors.

                                              General Background

          4.       The Debtors commenced these Chapter 11 Cases following the Change in Control

(defined below) on August 24, 2023 (the “Petition Date”) to effectuate an orderly wind down of

their lending platforms and sale of their related assets.

          5.       AmeriFirst is a mid-sized independent mortgage company. It is licensed to operate

in 44 states and serves customers via branches located in over 20 states. In addition to originating

and purchasing residential mortgage loans, AmeriFirst owns certain loan master servicing rights

(“MSRs”) and fees generated thereby. The MSRs are a valuable asset of the Debtors’ estates.

Phoenix has no business operations aside from holding 100% of the equity interests in AmeriFirst.

          6.       Following the nationwide decline in residential mortgage lending, particularly

refinancings, AmeriFirst’s annual combined loan originations and loan sale income dropped

precipitously. For the 12 month period ending December 31 2022, AmeriFirst suffered a $16.8

million net loss.

                                           Prepetition Secured Debt

          7.       Pursuant to, inter alia, (i) that certain Amended and Restated Credit and Security

Agreement, dated as of May 15, 2023 (the “Prepetition Credit Agreement”), among AmeriFirst, as

borrower, and RCP Credit Opportunities Fund Loan SPV (Fund III), L.P. and RCP Customized

Credit Fund (Fund IVA), L.P. (each, a “Prepetition Lender” and collectively, the “Prepetition


2
    Capitalized terms used but not defined herein shall have the meanings set forth in the applicable First Day Motions.


                                                           2
DOCS_DE:244458.7
              Case 23-11240-TMH          Doc 20       Filed 08/29/23   Page 3 of 11




Lenders”), and RCP Credit Opportunities Fund Loan SPV (Fund III), L.P. as administrative agent

(the “Prepetition Agent”, and with the Prepetition Lenders, the “Prepetition Secured Parties”), (ii)

that certain Limited Waiver and Second Amendment to Credit and Security Agreement, dated as of

May 15, 2023 (the “Limited Waiver”), and (iii) the certain Settlement Agreement, dated as of May

15, 2023 (the “Settlement Agreement”), the Prepetition Secured Parties provided certain

prepetition term loans and other financial accommodations to AmeriFirst.

       8.      Pursuant to the Settlement Agreement, in consideration for the execution of the

Prepetition Credit Agreement, the Second Amendment, and a restatement of the “bad boy”

guaranty agreement of Eric Bowlby (the “Guarantor”), AmeriFirst’s former Chief Executive

Officer and then majority shareholder, in favor of the Prepetition Secured Parties, the Prepetition

Secured Parties, AmeriFirst, and Guarantor entered into certain mutual releases, including the

release of all Existing Defaults (as defined in the Settlement Agreement), subject to the terms and

conditions set forth therein.

       9.      As of the Petition Date, the aggregate principal amount outstanding under the

Prepetition Credit Agreement is at least $15,798,087 (plus accrued and unpaid interest, additional

fees, costs, expenses, and other obligations as provided under the Prepetition Credit Agreement)

(the “Prepetition Obligations”).

       10.     In connection with the Prepetition Credit Agreement, the shareholders of

AmeriFirst, Eric Bowlby and Kenneth Bowlby, entered into that certain Pledge Agreement, dated

as of May 15, 2023 (the “Pledge Agreement”) with the Prepetition Secured Parties, which granted

liens and security interests in 100% of the common equity stock of AmeriFirst (the “Pledged

Shares”) in favor of the Prepetition Agent, and AmeriFirst entered into that certain Security

Agreement, dated as of May 15, 2023, with the Prepetition Secured Parties (the “Security



                                                  3
DOCS_DE:244458.7
              Case 23-11240-TMH          Doc 20        Filed 08/29/23   Page 4 of 11




Agreement”) which granted a first priority lien on and security interest in substantially all of the

personal property of AmeriFirst to the Prepetition Agent, subject to certain permitted liens,

together with mortgages on certain real property of AmeriFirst scheduled pursuant to the

Prepetition Credit Agreement. Pursuant to the Prepetition Credit Agreement and the Security

Agreement, the Prepetition Secured Parties assert that the Prepetition Obligations are secured by

valid, binding, perfected first priority security interests and liens (the “Prepetition Liens”) in and

on the “Collateral,” as defined in the Prepetition Credit Agreement and Security Agreements (the

“Prepetition Collateral”).

       11.     Pursuant to the Second Amendment, AmeriFirst agreed to issue 40,000 shares of

preferred shares, with an aggregate liquidation value of $4 million, to the Prepetition Lenders at

the closing of the Prepetition Credit Agreement.

                                            Change in Control

       12.     On August 24, 2023, following various events of default under the Prepetition

Credit Agreement and prior to the commencement of these Chapter 11 Cases, the Prepetition Agent

gave a Notice of Events of Default under the Prepetition Credit Agreement and declared that the

Obligations of AmeriFirst under the Prepetition Credit Agreement were immediately due and

payable. The Prepetition Agent thereafter exercised its rights under the Pledge Agreement,

including transferring the Pledged Stock and assigning the Prepetition Agent’s rights under the

Pledge Agreement to Phoenix. Pursuant to the Pledge Agreement, the certificates for the Pledged

Shares were then canceled and a new stock certificate issued to Phoenix. Phoenix as the sole

shareholder of AmeriFirst then executed a Unanimous Written Consent as the sole shareholder of

AmeriFirst (the “Phoenix Consent”). The Phoenix Consent (a) removed the former directors of

AmeriFirst; and (b) elected two new directors (including an independent director) to AmeriFirst’s



                                                   4
DOCS_DE:244458.7
              Case 23-11240-TMH         Doc 20       Filed 08/29/23    Page 5 of 11




board of directors. The reconstituted board of AmeriFirst executed a unanimous consent removing

all former officers of AmeriFirst and electing new officers (the “AmeriFirst Consent”, together

with the Phoenix Consent, the “Change in Control”). The Phoenix Consent and the AmeriFirst

Consent were each filed with and accepted by the Arizona Corporation Commission.

       13.     The Debtors have insufficient cash on hand to fund ongoing operations and the

costs of these Chapter 11 Cases, including paying employees and other administrative claims.

Following arms-length negotiations, the Debtors have reached agreement with the Prepetition

Lenders as “DIP Lenders” on the terms of debtor in possession financing and use of cash collateral.

       14.     The Debtors have filed to date a limited number of critical First Day Motions which

are discussed below. These First Day Motions relate to (a) the joint administration of the Debtors’

Chapter 11 Case, (b) continuation of the Debtors’ cash management system, (c) payment of

employee wages, compensation and employee benefits programs, and (d) debtor in possession

financing and use of cash collateral. The relief requested in the First Day Motions is critical to

stabilize the Debtors’ business operations and the ultimate success of these Chapter 11 Cases. The

Debtors will file additional typical First Day Motions as soon as possible and intend to seek the

Court’s approval of those as well in the near future. For the reasons stated above and below, I

believe that the relief requested in the First Day Motions is necessary to prevent imminent harm

to the Debtors’ estates.

                                    FIRST DAY MOTIONS

I.     Administrative Motion

       A.      Joint Administration Motion

       15.     The Debtors request entry of an order directing joint administration of their Chapter

11 Cases for procedural purposes only pursuant to Federal Rule of Bankruptcy Procedure 1015(b)



                                                 5
DOCS_DE:244458.7
              Case 23-11240-TMH           Doc 20       Filed 08/29/23    Page 6 of 11




and providing that the Court maintain one file and one docket for all of the Debtors’ Chapter 11

Cases under the lead case, In re AmeriFirst Financial, Inc., et al.

       16.     The two Debtor entities are “affiliates” as that term is defined in section 101(2) of

the Bankruptcy Code. Accordingly, joint administration of these Chapter 11 Cases will allow for

the efficient and convenient administration of the Debtors’ interrelated Chapter 11 Cases, will

yield significant cost savings, and will not prejudice the substantive rights of any party in interest.

       17.     I believe that entry of an order directing joint administration of the Chapter 11

Cases will reduce fees and costs by avoiding duplicative filings and objections.                 Joint

administration also will allow the Office of the United States Trustee (the “United States Trustee”)

and all parties-in-interest to monitor the Chapter 11 Cases with greater ease and efficiency.

Accordingly, on behalf of the Debtors, I respectfully submit that the Joint Administration Motion

should be approved.

II.    Operational Motions Requesting Immediate Relief

       A.      Cash Management Motion

       18.     By the Cash Management Motion, the Debtors request interim and final (i)

authority to (a) continue operating the Cash Management System (as defined therein), (b) honor

and pay the Bank Fees (as defined therein) in the normal course, and (c) maintain existing business

forms, and (ii) granting certain related relief, as described more fully in the Cash Management

Motion.

       19.     In the ordinary course of business, the Debtors utilize their Cash Management

System to collect, manage, and disburse funds used in their business. The Cash Management

System is essential to the stability of the Debtors’ assets and business objectives, and to

maximizing the value of their estates.



                                                   6
DOCS_DE:244458.7
              Case 23-11240-TMH          Doc 20       Filed 08/29/23   Page 7 of 11




       20.     As of the Petition Date, the Debtors maintain twenty-one (21) bank accounts (the

“Bank Accounts”) at several banks, including Alliance Bank of Arizona, BMO Harris Bank N.A.,

Chase Bank, Wells Fargo, Veritex, Centier, and Citizens Bank (collectively, the “Banks”).

Payments to creditors are made from the Bank Accounts, in a variety of ways, including checks,

drafts, wire transfers, credit cards, and automated clearinghouse (“ACH”) transfers. A general

diagram of the movement of funds within the Cash Management System is attached to the Cash

Management Motion as Exhibit C, and a summary of bank accounts and a short description of the

purpose of each account is attached thereto as Exhibit D (the “Bank Accounts”).

       21.     The Debtors incur certain fees and charges in connection with the ordinary course

operation of the Cash Management System, including, without limitation, those fees as specified

in the prepetition agreements entered into between the Debtors and the Banks (collectively, the

“Bank Fees”). The Bank Fees include account maintenance charges, charges relating to ACH and

wire transfers, lockbox and depository service charges, and other customary miscellaneous

charges. In the ordinary course of business and typically on a monthly basis, the Bank charges the

Debtors and deducts from the appropriate bank accounts certain service charges, and other fees,

costs, and expenses. The Debtors are still investigating and obtaining access to certain information

related to Bank Fees but expect that there will be prepetition Bank Fees outstanding as of the

Petition Date. Accordingly, at the final hearing on the Cash Management Motion, the Debtors will

seek approval to pay prepetition Bank Fees and to pay any postpetition Bank Fees and, for the

Banks to deduct, any such Bank Fees in the ordinary course when due.

       22.     Maintaining the Debtors’ Cash Management System in its current state is crucial to

the Debtors’ continued operations, given the volume of transactions processed through the Cash

Management System each day.          Any disruption to the Cash Management System would



                                                  7
DOCS_DE:244458.7
               Case 23-11240-TMH           Doc 20       Filed 08/29/23     Page 8 of 11




unnecessarily and significantly disrupt the Debtors’ operations and impede the successful

administration of their Chapter 11 Cases.

        23.     I believe that the relief requested in the Cash Management Motion is in the best

interests of the Debtors’ estates, their creditors, and all other parties in interest, and will enable the

Debtors to continue to operate their businesses in these Chapter 11 Cases with minimal disruption,

thereby benefiting all parties in interest. Accordingly, for the reasons set forth herein and in the

Cash Management Motion, on behalf of the Debtors, I respectfully submit that the relief requested

in the Cash Management Motion should be granted.

        B.      Wages and Benefits Motion

        24.     By the Wages and Benefits Motion, the Debtors seek entry of interim and final

orders granting authorizing, but not directing, the Debtors to (i) pay prepetition wages, salaries,

other compensation, and reimbursable employee expenses, and (ii) continue employee benefits

programs in the ordinary course, including payment of certain prepetition obligations related

thereto.

        25.     As of the Petition Date, the Debtors employ approximately 153 full-time employees

and 14 part-time employees (the “Employees”). The Employees perform a variety of functions

critical to the preservation of value and the administration of the Debtors’ estates. In many

instances, the Employees include personnel who are intimately familiar with the Debtors’

businesses, processes, and systems, and who cannot be easily replaced. Without the continued,

uninterrupted services of the Employees, the Debtors simply could not run their business and

preserve value for the benefit of all stakeholders. No Employees are party to collective bargaining

agreements or other similar labor agreements, and no Employees are members of labor unions.




                                                    8
DOCS_DE:244458.7
              Case 23-11240-TMH          Doc 20       Filed 08/29/23   Page 9 of 11




       26.     In addition to the Employees, the Debtors’ workforce also includes two

independent contractors (the “Independent Contractors”), who perform necessary support for the

Debtors.

       27.     Many of the Employees and Independent Contractors rely on their compensation

and benefits to pay their daily living expenses. Thus, the Employees and Independent Contractors

will be exposed to significant financial constraints if the Debtors are not permitted to continue

paying compensation and providing the Employees with health and other benefits. Without the

continued, uninterrupted services of their Employees and Independent Contractors, the Debtors’

continued operations and going concern value will be threatened.

       28.     Accordingly, for the reasons set forth herein and expanded on in the Wage and

Benefits Motion, on behalf of the Debtors, I respectfully submit that the relief requested in the

Wage and Benefits Motion is in the best interests of the Debtors’ estates, their creditors, and all

other parties in interest, and will enable the Debtors to continue to operate their businesses in the

Chapter 11 Cases with minimal disruption, thereby maximizing value for the estates.

       C.      DIP Financing/Cash Collateral Motion

       29.     Subject to Court approval, the DIP Lenders have agreed to provide DIP Loans to

the Debtors in an amount up to $5.0 million (subject to any limitations on borrowing under the

DIP Term Sheet), of which $2.775 million will be available upon entry of the Interim Order. The

Debtors require an immediate infusion of new money in order to maintain operations, pay

employees, and satisfy accruing administrative expenses, including estate professional fees. The

Debtors do not have adequate funding based on access to Cash Collateral alone. Without the

proposed DIP Loans, the Debtors would suffer immediate and irreparable harm and would be

forced to terminate operations, layoff all employees, and convert these cases to Chapter 7.



                                                  9
DOCS_DE:244458.7
             Case 23-11240-TMH          Doc 20        Filed 08/29/23   Page 10 of 11




       30.     Based on these facts, the Debtors’ only source of funding for these Chapter 11

Cases are the existing Prepetition Lenders. The proposed DIP Loans and authorization to use Cash

Collateral, as offered by the DIP Lenders and the Prepetition Lenders, are the best and only

financing options currently available to these estates. Fully unsecured postpetition financing was

not available to Debtors on these favorable terms. Other potential sources of debtor in possession

financing for the Debtors, including on a junior secured basis, are also nonexistent on these terms.

       31.     The terms of the DIP Term Sheet were negotiated in good faith and at arm’s-length

between the Debtors and the DIP Lenders, resulting in an agreement that is designed to permit the

Debtors to maximize the value of their assets. The Debtors submit that the proposed terms of the

DIP Loans are fair, reasonable, and appropriate under the circumstances.

       32.     For the reasons set forth above, the Debtors’ sound business judgment clearly

supports approval of the DIP Term Sheet. Access to the DIP Loans and use of Cash Collateral

will allow the Debtors to continue to operate, thus maximizing value for all of their constituents.

       33.     Accordingly, I respectfully submit that the DIP Term Sheet and access to Cash

Collateral should be approved and is in the best interests of the Debtors’ estates.

                                         CONCLUSION

       34.     I have reviewed each of the First Day Motions. All of the facts set forth in the First

Day Motions are true and correct to the best of my knowledge and belief based upon (a) my

personal knowledge of the Debtors’ operations and finances, (b) information learned from my

review of relevant documents, (c) information supplied to me by other members of the Debtors’

management team and the Debtors’ advisors, and/or (d) my opinion based upon my knowledge

and experience or information I have reviewed concerning the Debtors’ operations and financial

condition. Accordingly, the Debtors respectfully request that the relief requested in each of the



                                                 10
DOCS_DE:244458.7
             Case 23-11240-TMH           Doc 20        Filed 08/29/23   Page 11 of 11




First Day Motions be granted because such relief is a critical element in stabilizing and facilitating

the Debtors’ operations during the pendency of the Chapter 11 Cases.

       35.     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that, to the best of

my knowledge and after reasonable inquiry, the foregoing is true and correct.



Dated: August 28, 2023                                   /s/ T. Scott Avila
                                                         T. Scott Avila
                                                         Chief Restructuring Officer
                                                         AmeriFirst Financial, Inc.




                                                  11
DOCS_DE:244458.7
